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                                   EXHIBIT B

 DECLARATIONS OF STATE COURT COUNSEL REGARDING EXHIBIT DOCUMENTS




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                :
In re:                                                          :   Chapter 11
                                                                :
BOY SCOUTS OF AMERICA AND                                       :   Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                               :
                                                                :   (Jointly Administered)
                                              1
                                   Debtors.                     :
                                                                    Re D.I. 1053, 1106


 DECLARATION OF JOSEPH L. STEINFELD, Jr. REGARDING DOCUMENTS FILED
UNDER SEAL IN CONNECTION WITH SECOND AMENDED VERIFIED STATEMENT
OF COALITION OF ABUSED SCOUTS FOR JUSTICE PURSUANT TO BANKRUPTCY
                             RULE 2019

         I, Joseph L. Steinfeld, Jr. hereby declare under penalty of perjury:

    1. I am a partner at the law firm of ASK LLP, located at 2600 Eagan Woods Dr., Ste. 400, St.

Paul, MN 55121. I am a member in good standing of the bars of the State of Minnesota,

Commonwealth of Virginia and the District of Columbia.

    2. ASK LLP represents certain individuals who are members of the Coalition of Abused

Scouts for Justice. I submit this declaration in connection with the Second Amended Verified

Statement of Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019, filed

herewith (the “Verified Statement” filed by the “Coalition”). I have personal knowledge of the

facts stated herein. If called as a witness in this action, I could and would testify competently to

the contents of this declaration.

    3. Attached at Exhibit A to the Verified Statement are true and correct copies of the following:

             a. Documents stating the name, address, and incident data related to abuse suffered
                by each of my clients who is a Member of the Coalition (each, a “Member Client”).


1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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              b. An exemplar of ASK LLP’s engagement letter with each Member Client, which
                 provides authority for ASK LLP to affiliate with or retain co-counsel on behalf of
                 each Member Client. For the avoidance of doubt, each Member Clients has signed
                 an engagement letter that is identical to the exemplar in all substantive respects
                 other than such Member Client’s personally identifiable information.

              c. Engagement letters between the Coalition and (i) Brown Rudnick LLP and (ii)
                 Monzack Mersky Browder and Hochman, PA. ASK LLP is a party to such letters
                 by direct signature and/or joinder, true and correct copies of which operative signed
                 forms are attached thereto.

              d. An exemplar of ASK LLP’s initial notice to clients regarding the formation of the
                 Coalition, its retention of bankruptcy counsel and the ability of the Coalition
                 Members to opt out of the Coalition at any time.

              e. A copy of the Request for Written Acknowledgment. For the avoidance of doubt,
                 each of my Member Clients has been sent a copy of such Request for Written
                 Acknowledgment that is identical to such form other than the name of my law firm.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 6, 2020                                         _________________________
       St. Paul, MN                                            Joseph L. Steinfeld, Jr.
63874884 v1-WorkSiteUS-036293/0001




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                              IN THE       UNITED         ST ATES    BANKRUPTCY            COURT
                                         FOR THE         DISTRICT     OF DELAWARE


  In re:                                                                    Chapter 11

 BOY SCOUTS OF AMERICA                           AND                        Case No. 20-10343          (LSS)
 DELAWARE  BSA, LLC
                                                                            (Jointly   Administered)
                                            Debtors,l
                                                                            Re D.I. 1053, 1106



 DECLARATION      OF MARC J. BERN REGARDING      DOCUMENTS                                       FILED  UNDER   SEAL
        IN CONNECTION    WITH   SECOND AMENDED    VERIFIED                                     ST ATEMENT    OF
     COALITION   OF ABUSED    SCOUTS FOR JUSTICE   PURSUANT                                      TO BANKRUPTCY
                                                            RULE     2019


            I, Marc J. Bern, hereby declare under penalty              of perjury:

     1.     IamapartneratthelawfirmofMarcJ.Bern&PartnersLLP,locatedatOneGrandCentral


 Place, 60 East 42ndst., Ste. 950, New York,                   NY 10165.    I am a member       in good standing     of the

bar of the State of New York.


     2.     I represent    certain     individuals      who are members     of the Coalition     of Abused       Scouts for

Justice. I submit this declaration in connectionwith the SecondAmended Verified
                                                                                                               Statementof
Coalition of Abused Scoutsfor Justice Pursuant to Bankruptcy Rule 2019, filed herewith
                                                                                                                       (the
"Verified      Statement"      filed    by the "Coalition").        I have personal    knowledge       of the facts stated

herein.     If called as a witness in this action, I could and would             testify   competently     to the contents

of this declaration.


     3,     Attached    at Exhibit     A to the Verified    Statement are true and correct copies of the following:

                a.     Documents       stating  tl'ie name, address, and incident data related to abuse suffered
                      by each ofmy       clients who is a Member of the Coalition (each, a"Member       Client").



' The Debtors in the cnapter l I cases, together with the last four digits of each
                                                                                   Debtors' federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware
                                                                     BSA, LLC (4311). The Debtors' mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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               b.   An exemplar of my engagement letter with each Member Client,
                                                                                           which provides
                     authority for me to affiliate with or retain co-counsel on behalf
                                                                                         of each Member
                    Client. For the avoidance of doubt, each of my Member Clients
                                                                                            has signed an
                    engagement letter that is identical to the exemplar in all substantive
                                                                                            respects other
                    than such Member Client's personally identifiable information.

               c.   Engagement letters between the Coalition and (i) Brown Rudnick
                                                                                               LLP and (ii)
                    MonzackMerskyBrowderandHochrnan,PA.               Mylawfirmisapartytosuchletters
                    by direct signature and/or joinder, true and correct copies of which
                                                                                           operative signed
                    forms are attached thereto.

               d.   A copy of the Request for Written Acknowledgment.        For the avoidance of doubt,
                    each of my Member Clients has been sent a copy of such
                                                                                    Request for Written
                    Acknowledgment   that is identical to such form other than the name of my law firm.

         Pursuant to 28 U.S.C. FSI
                                1746, I declare under penalty of perjury that the foregoing          is true
and correct.


Dated:   October     6, 2020
         Aspen,     Colorado
                                                                   Marc   J. Bern




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                :
In re:                                                          :   Chapter 11
                                                                :
BOY SCOUTS OF AMERICA AND                                       :   Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                               :
                                                                :   (Jointly Administered)
                                              1
                                   Debtors.                     :
                                                                    Re D.I. 1053, 1106


    DECLARATION OF DEBORAH LEVY REGARDING DOCUMENTS FILED UNDER
    SEAL IN CONNECTION WITH SECOND AMENDED VERIFIED STATEMENT OF
    COALITION OF ABUSED SCOUTS FOR JUSTICE PURSUANT TO BANKRUPTCY
                               RULE 2019

         I, Deborah Levy, hereby declare under penalty of perjury:

    1. I am a partner at the law firm of Junell & Associates, PLLC, located at 3737 Buffalo

Speedway Ste. 1850, Houston TX 77098. I am a member in good standing of the bar of the State

of Texas.

    2. I represent certain individuals who are members of the Coalition of Abused Scouts for

Justice. I submit this declaration in connection with the Second Amended Verified Statement of

Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019, filed herewith (the

“Verified Statement” filed by the “Coalition”). I have personal knowledge of the facts stated

herein. If called as a witness in this action, I could and would testify competently to the contents

of this declaration.

    3. Attached at Exhibit A to the Verified Statement are true and correct copies of the following:

             a. Documents stating the name, address, and incident data related to abuse suffered
                by each of my clients who is a Member of the Coalition (each, a “Member Client”).


1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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           b. An exemplar of my engagement letter with each Member Client, which provides
              authority for me to affiliate with or retain co-counsel on behalf of each Member
              Client. For the avoidance of doubt, each of my Member Clients has signed an
              engagement letter that is identical to the exemplar in all substantive respects other
              than such Member Client’s personally identifiable information.

           c. Engagement letters between the Coalition and (i) Brown Rudnick LLP and (ii)
              Monzack Mersky Browder and Hochman, PA. My law firm is a party to such letters
              by direct signature and/or joinder, true and correct copies of which operative signed
              forms are attached thereto.

           d. A copy of the Request for Written Acknowledgment. For the avoidance of doubt,
              each of my Member Clients has been sent a copy of such Request for Written
              Acknowledgment that is identical to such form other than the name of my law firm.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 6, 2020                                      _________________________
       Houston, TX                                          Deborah Levy




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                :
In re:                                                          :   Chapter 11
                                                                :
BOY SCOUTS OF AMERICA AND                                       :   Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                               :
                                                                :   (Jointly Administered)
                                              1
                                   Debtors.                     :
                                                                    Re D.I. 1053, 1106


    DECLARATION OF ADAM W. KRAUSE REGARDING DOCUMENTS FILED UNDER
     SEAL IN CONNECTION WITH SECOND AMENDED VERIFIED STATEMENT OF
     COALITION OF ABUSED SCOUTS FOR JUSTICE PURSUANT TO BANKRUPTCY
                                RULE 2019

         I, Adam W. Krause, hereby declare under penalty of perjury:

     1. I am a partner at the Krause & Kinsman Law Firm, located at 4717 Grand Avenue #300,

Kansas City, MO 64112. I am a member in good standing of the bar of the State of Missouri.

     2. I represent certain individuals who are members of the Coalition of Abused Scouts for

Justice. I submit this declaration in connection with the Second Amended Verified Statement of

Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019, filed herewith (the

“Verified Statement” filed by the “Coalition”). I have personal knowledge of the facts stated

herein. If called as a witness in this action, I could and would testify competently to the contents

of this declaration.

     3. Attached at Exhibit A to the Verified Statement are true and correct copies of the following:

             a. Documents stating the name, address, and incident data related to abuse suffered
                by each of my clients who is a Member of the Coalition (each, a “Member Client”).

             b. An exemplar of my engagement letter with each Member Client, which provides
                authority for me to affiliate with or retain co-counsel on behalf of each Member

1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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               Client. For the avoidance of doubt, each of my Member Clients has signed an
               engagement letter that is identical to the exemplar in all substantive respects other
               than such Member Client’s personally identifiable information.

           c. Engagement letters between the Coalition and (i) Brown Rudnick LLP and (ii)
              Monzack Mersky Browder and Hochman, PA. My law firm is a party to such letters
              by direct signature and/or joinder, true and correct copies of which operative signed
              forms are attached thereto.

           d. A copy of the Request for Written Acknowledgment. For the avoidance of doubt,
              each of my Member Clients has been sent a copy of such Request for Written
              Acknowledgment that is identical to such form other than the name of my law firm.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 6, 2020                                       _________________________
       Kansas City, MO                                       Adam W. Krause




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                :
In re:                                                          :    Chapter 11
                                                                :
BOY SCOUTS OF AMERICA AND                                       :    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                               :
                                                                :    (Jointly Administered)
                                               1
                                    Debtors.                    :
                                                                     Re D.I. 1053, 1106


    DECLARATION OF DANIEL LAPINSKI REGARDING DOCUMENTS FILED UNDER
     SEAL IN CONNECTION WITH SECOND AMENDED VERIFIED STATEMENT OF
     COALITION OF ABUSED SCOUTS FOR JUSTICE PURSUANT TO BANKRUPTCY
                                RULE 2019

         I, Daniel Lapinski, hereby declare under penalty of perjury:

     1. I am a Member at the law firm of Motley Rice LLC, with my office located at 210 Lake

Drive East, Suite 101, Cherry Hill, New Jersey 08002. I am a member in good standing of the

bars of the States of New Jersey, New York and Pennsylvania.

     2. I represent certain individuals who are members of the Coalition of Abused Scouts for

Justice. I submit this declaration in connection with the Second Amended Verified Statement of

Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019, filed herewith (the

“Verified Statement” filed by the “Coalition”). I have personal knowledge of the facts stated

herein. If called as a witness in this action, I could and would testify competently to the contents

of this declaration.

     3. Attached at Exhibit A to the Verified Statement are true and correct copies of the following:




1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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           a. Documents stating identifying information related to each of my clients who is a
              Member of the Coalition, including certain incident data (each, a “Member
              Client”).

           b. An exemplar of my engagement letter with each Member Client, which provides
              authority for me to affiliate with or retain co-counsel on behalf of each Member
              Client. For the avoidance of doubt, each of my Member Clients has signed an
              engagement letter that is identical to the exemplar in all substantive respects other
              than such Member Client’s personally identifiable information.

           c. Engagement letters between the Coalition and (i) Brown Rudnick LLP and (ii)
              Monzack Mersky Browder and Hochman, PA. My law firm is a party to such letters
              by direct signature and/or joinder, true and correct copies of which operative signed
              forms are attached thereto.

           d. A copy of the Request for Written Acknowledgment. For the avoidance of doubt,
              each of my Member Clients has been sent a copy of such Request for Written
              Acknowledgment that is identical to such form in all substantive respects other than
              the name of my law firm.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Dated: October 6, 2020
       Cherry Hill, New Jersey




                                                            Daniel Lapinski




                                                2
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                :
In re:                                                          :    Chapter 11
                                                                :
BOY SCOUTS OF AMERICA AND                                       :    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                               :
                                                                :    (Jointly Administered)
                                               1
                                    Debtors.                    :
                                                                     Re D.I. 1053, 1106


    DECLARATION OF ANNE ANDREWS REGARDING DOCUMENTS FILED UNDER
    SEAL IN CONNECTION WITH SECOND AMENDED VERIFIED STATEMENT OF
    COALITION OF ABUSED SCOUTS FOR JUSTICE PURSUANT TO BANKRUPTCY
                               RULE 2019

         I, Anne Andrews, hereby declare under penalty of perjury:

    1. I am a partner at the law firm of Andrews & Thornton, located at 4701 Von Karman Ave.,

Ste. 300, Newport Beach, CA 92660. I am a member in good standing of the bar of the State of

California.

    2. I represent certain individuals who are members of the Coalition of Abused Scouts for

Justice. I submit this declaration in connection with the Second Amended Verified Statement of

Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019, filed herewith (the

“Verified Statement” filed by the “Coalition”). I have personal knowledge of the facts stated

herein. If called as a witness in this action, I could and would testify competently to the contents

of this declaration.

    3. Attached at Exhibit A to the Verified Statement are true and correct copies of the following:

              a. Documents stating the name, address, and incident data related to abuse suffered
                 by each of my clients who is a Member of the Coalition (each, a “Member Client”).


1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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           b. An exemplar of my engagement letter with each Member Client, which provides
              authority for me to affiliate with or retain co-counsel on behalf of each Member
              Client. For the avoidance of doubt, each of my Member Clients has signed an
              engagement letter that is identical to the exemplar in all substantive respects other
              than such Member Client’s personally identifiable information.

           c. Engagement letters between the Coalition and (i) Brown Rudnick LLP and (ii)
              Monzack Mersky Browder and Hochman, PA. My law firm is a party to such letters
              by direct signature and/or joinder, true and correct copies of which operative signed
              forms are attached thereto.

           d. An exemplar that is similar to my law firm’s initial notice to clients regarding the
              formation of the Coalition and the ability of the Coalition Members to opt out of
              the Coalition at any time.

           e. An exemplar of the Request for Written Acknowledgment. For the avoidance of
              doubt, my firm has sent, will send or is in the process of sending to each of my
              Member Clients a copy of such Request for Written Acknowledgment that is
              identical to such form other than the name of my law firm.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 6, 2020                                      _________________________
       Newport Beach, CA                                    Anne Andrews




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                               :
In re:                                                         :    Chapter 11
                                                               :
BOY SCOUTS OF AMERICA AND                                      :    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                              :
                                                               :    (Jointly Administered)
                                              1
                                   Debtors.                    :
                                                                    Re D.I. 1053, 1106


DECLARATION OF HUNTER SHKOLNIK REGARDING DOCUMENTS FILED UNDER
   SEAL IN CONNECTION WITH SECOND AMENDED VERIFIED STATEMENT
OF COALITION OF ABUSED SCOUTS FOR JUSTICE PURSUANT TO BANKRUPTCY
                            RULE 2019

         I, Hunter Shkolnik, hereby declare under penalty of perjury:

    1. I am a partner at the law firm of Napoli Shkolnik PLLC, located at 360 Lexington Ave.,

11th Floor, New York, NY 10017. I am a member in good standing of the bar of the State of

New York.

    2. I represent certain individuals who are members of the Coalition of Abused Scouts for

Justice. I submit this declaration in connection with the Second Amended Verified Statement of

Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019, filed herewith (the

“Verified Statement” filed by the “Coalition”). I have personal knowledge of the facts stated

herein. If called as a witness in this action, I could and would testify competently to the contents

of this declaration.

    3. Attached at Exhibit A to the Verified Statement are true and correct copies of the

following:



1
 The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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           a. Documents stating the name and address of my clients who is a Member of the
              Coalition (each, a “Member Client”).

           b. An exemplar of my engagement letter with each Member Client, which provides
              authority for me to affiliate with or retain co-counsel on behalf of each Member
              Client. For the avoidance of doubt, each of my Member Clients has signed an
              engagement letter that is identical to the exemplar in all substantive respects other
              than such Member Client’s personally identifiable information.

           c. Engagement letters between the Coalition and (i) Brown Rudnick LLP and (ii)
              Monzack Mersky Browder and Hochman, PA. My law firm is a party to such
              letters by direct signature and/or joinder, true and correct copies of which
              operative signed forms are attached thereto.

           d. A copy of the Request for Written Acknowledgment. For the avoidance of doubt,
              each of my Member Clients has been sent a copy of such Request for Written
              Acknowledgment that is identical to such form other than the name of my law
              firm.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 6, 2020                                      _________________________
       New York, New York                                   Hunter Shkolnik




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